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AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                     Page 1 of


                                        United States District Court
                                                                    for the

                                                           Northern Distriet of Ohio                            filed
                                                                                                            SEP 0 5 2024
                    United States of America                            ^                              clerk u s niQTo.^-r ^
                                   V.



                        MATTHEW MOTIL                                           Case No.    1 i24 OR 289


                              Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE


IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:               U.S. District Court, Northern District of Ohio, Carl B. Stokes U.S. Courthouse,
                                                                                        Place

       Courtroom 15A, 801 West Superior Avenue, Cleveland, Ohio 44113

      on                                                          12/12/2024 10:00 am
                                                                      Date and Time



      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 10/20) Additional Conditions of Release                                                                                               Page 2      of   4   Pages


                                                      ADDITIONAL CONDITIONS OF RELEASE


    Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
                               appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( n)    (6)     The defendant is placed in the custody of:
                Person or organization
                Address (only if above is an organization)
                City and state                                                                                             Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                              Signed:
                                                                                                             Custodian                                               Date

{^) (7) The defendant must:
       (^T) (a) submit to supervision by and report for supervision to the U.S. Pretrial Services and Probation Office, Northern Ohio                       ,
                     telephone number           216-357-7300         , no later than 09/06/2024                                       .
                     continue or actively seek employment,
                     continue or start an education program.
                     surrender any passport to:       United States Clerk of Courts, Northern District of Ohio
                     not obtain a passport or other international travel document.
                     abide by the following restrictions on personal association, residence, or travel:           Travel restricted to Northern District of Ohio.
                              S'o*^fh<AJO DlS'THLcf oF
              ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                     including:

       ([H ) (h) get medical or psychiatric treatment:

       (D) (i) return to custody each                           at              o'clock after being released at                       o'clock for employment, schooling.
                     or the following purposes:

       (n ) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
                (k) not possess a firearm, destructive device, or other weapon.
       ([H ) (1) not use alcohol ( H] ) at all ( □ ) excessively.
       (CH ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                     medical practitioner.
       (n ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                    random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                    prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                     of prohibited substance screening or testing.
       (dl) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                     supervising officer.
       (CH ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                     (CH ) (i) Curfew. You are restricted to your residence every day (              □ ) from                             to                 , or ( □ ) as
                                  directed by the pretrial services office or supervising officer; or
                    (CH ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                  activities approved in advance by the pretrial services office or supervising officer; or
                    (□ ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                  court appearances or other activities specifically approved by the court; or
                    (n ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                  you must comply with the location or travel restrictions as imposed by the court.
                                  Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
       ([U ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
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                                                                                                                                                      Page 3 of 4 Pages



                                                ADDITIONAL CONDITIONS OF RELEASE

          (CH ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
          (n ) (ii) Voice Recognition; or
          (CH ) (iii) Radio Frequency; or
          (□)(iv) GPS.
( n ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
 »            officer.

CM) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
              questioning, or traffic stops.
(J5j (t) 1 • Avoid contact directly or Indirectly, witti co-defendants.
              2. Remove all firearms from residence within one-week of release and provide documentation to Pretrial Services.



□Prohibition on Access to Computer/Internet: The defendant is prohibited from accessing any computer, Internet Service Provider, bulletin board
system or any other public or piivate computer network or the service at any location * (including employment or education) without prior written
approval of the U.S. Pretrial Services and Probation Office or the Court. Any approval shall be subject to any conditions set by the U.S. Pretrial Services
and Probation Office or the Court with respect to that approval. Any comprrter formd is subject to seizrrre and'or search. A search will not be condrrcted
prior to approval of the Corrrt.

□Conrputer/Intemet Access Permitted: The defendant shall consent to the U.S. Pretrial Services and Probation Office conducting periodic
imannoimced examinations of his.'her computer system(s), which may inchrde retrieval and copying of all memory fr om hardware/software anth'or
removal of strch system(s) for the purpose of conducting a more thororrgh inspection and will consent to having installed on his/her compirterfs). at
his'Tier expense, any hardware/software to monitor his/her computer trse or prevent access to particrrlar materials. The defendant hereby consents to
periodic inspection of any such installed hardwar e/softwar e to instrre it is fimctioning properly. The defendant shall provide the U.S. Pretrial Services
and Probation Office with accurate information about hisher entire corrqrrrter system (hardware/software): all passwords trsed by him/her; and his/her
Internet Service Provider(s); and will abide by all rules of the Computer Restriction and Moiritoring Program



□ Computer/Internet Restrictions: The defendant is prohibited from accessing any on-line conqruter service at any location (irrcluding enployrrrent
or edrrcation) without prior written approval of the U.S. Pretrial Services and Probation Office or the Court. This includes any Internet Service Provider,
brrlletin board sj-stem or any other pubhc or private corrrputer network. Any approval shall be subject to conditions set by the U.S. Pretrial Services and
Probation Office or the Corrrt with respect to that approval.

The defendant shall corrsent to the U.S. Pretrial Services and Probation Office conducting periodic tinarmormced examinations of hisher conqrrrter
system(s). which rrray inchrde retrieval and copying of all memory from hardware/software andhr removal of srrch system(s) for the ptupose of
conducting a trrore thororrgh irrspection and will consent to having installed on hisher corrrprtterfs). at the defendant's e.xpense. arry hardware/software
to morritor hisher computer rrse or prevent access to partinrlar materials. The defendant hereby consents to periodic inspection of any such installed
hardware/software to insrue it is fimctioning properly.

The defendant shall provide the U.S. Pretrial Services and Probation Office with accurate information aboirt the defendant's entire computer system
(hardware/software): all passwords used by himher: and the defendant's Internet Service Provider(s); and will abide by all nrles of the Computer
Restriction and Morritoring Program.

□No Contact with Minors: The defendant shall not associate or have verbaL writtem telephone, or electronic corrrmrmication with any person tmder
the age of 18 except in the presence of the parent or legal grrardian of said minor. This provision does not encompass persons imder the age of 18. such
as waiters, cashiers, ticket vendors, etc., with whom the defendant rnrrst deal in order to obtain ordinary and ttsrral courmercial services.

The defendant shall not freqirent or loiter within 1000 feet of schoolyards, playgrotmds. theme parks, arcades, swimrrring pools, skating rirrks. toy stores
and other places where persons tmder the age of 18 play, congregate, or gather, withoirt the prior express writterr approval of the U.S. Pretrial Services
and Probation Office.


The defendant shall not seek, obtain or maintain any employment, volrmteer work, chrtrch or recreational activities involving minors (persorrs tmder
the age of 18) in any way without the prior express written approv al of the U.S. Pretrial Services and Probation Office.
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AO 199C (Rev. 09/08) Advice of Penalties                                                                           Page   4   of   4    Pages
                                           ADVICE OF PENALTIES AND SANCTIONS


TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive {i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                          Defendant's Signamfe


                                                                                      j      O^'O
                                                                                              City and State



                                               Directions to the United States Marshal


{./) The defendant is ORDERED released after processing.
(-   ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
        the appropriate judge at the time and place specified.


Date:
                                                                                       Judicial Officer's Sigmture



                                                                                          Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE         U.S. ATTORNEY        U.S. MARSHAL
